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                                  LA 1000 SANTA FE, LLC AND SOHO HOUSE,
                             14   LLC
                             15
                                                      UNITED STATES DISTRICT COURT
                             16
                                        CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
                             17

                             18
                                  JONATHAN HERNANDEZ, an                     Case No.: 23-CV-04475-MEMF-JPR
                             19   individual,
                             20                  Plaintiff,                  JOINT NOTICE OF
                                                                             SETTLEMENT OF CASE
                             21         v.
                             22   LA 1000 SANTA FE, LLC, d/b/a
                                  SOHO WAREHOUSE, a foreign
                             23   limited liability company; SOHO
                                  HOUSE, LLC, a foreign limited liability
                             24   company, and DOES 1 through 50,            Action Removed: June 7, 2023
                                                                             Action Filed:   May 5, 2023
                             25                  Defendants.
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                                                                        JOINT NOTICE OF SETTLEMENT OF CASE; 23-CV-04475-MEMF-JPR
                           Case 2:23-cv-04475-MEMF-JPR Document 9 Filed 08/08/23 Page 2 of 3 Page ID #:107



                              1         TO THE COURT:
                              2         PLEASE TAKE NOTICE that Plaintiff JONATHAN HERNANDEZ and
                              3   Defendants LA 1000 SANTA FE, LLC AND SOHO HOUSE, LLC. and SOHO
                              4   HOUSE, LLC (collectively, “the Parties”) have reached a settlement as to the entire
                              5   action. The Parties respectfully request that the Court vacate all court dates and
                              6   deadlines in the case. Plaintiff anticipates filing a voluntary dismissal of the entire
                              7   action with prejudice within the ten (10) days upon executing the long form
                              8   settlement agreement and payment of settlement funds.
                              9
                             10

                             11    Dated: August 8, 2023              Respectfully submitted,
B AKER & H OSTE TLER LLP




                             12                                       JUSTICE FOR WORKERS, P.C.
   A TTORNEYS AT L AW
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                             13

                             14                                       By:    /s/ Young K. Park
                                                                             YOUNG K. PARK
                             15                                              JUSTIN R. KNIGHT
                             16                                       Attorneys for Plaintiff
                                                                      JONATHAN HERNANDEZ
                             17

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                                   Dated: August 8, 2023              Respectfully submitted,
                             20
                                                                      BAKER & HOSTETLER LLP
                             21

                             22
                                                                      By:    /s/ Matthew J. Goodman
                             23                                              SHAREEF S. FARAG
                                                                             MATTHEW J. GOODMAN
                             24

                             25                                       Attorneys for Defendants
                                                                      LA 1000 SANTA FE, LLC AND
                             26                                       SOHO HOUSE, LLC
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                                                                            JOINT NOTICE OF SETTLEMENT OF CASE; 23-CV-04475-MEMF-JPR
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                           Case 2:23-cv-04475-MEMF-JPR Document 9 Filed 08/08/23 Page 3 of 3 Page ID #:108



                              1                                        ATTESTATION
                              2
                                            I, Matthew J. Goodman, attest that all other signatures listed, and on whose
                              3
                                  behalf the filing is submitted, concur in the filing’s content and have authorized the
                              4
                                  filing.
                              5                                             /s/ Matthew J. Goodman
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B AKER & H OSTE TLER LLP




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                                                                                              JOINT NOTICE OF SETTLEMENT OF CASE
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